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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT
 
 
 
                    ELECTRONIC FILING ORDER IN MAGISTRATE CASES
 
 
 
           This case is designated as an electronically filed case. This means that all

    pleadings will be required to be filed electronically. Documents filed electronically

    must be filed in OCR text searchable PDF format. The procedures contained in the

    District’s CM/ECF Policies and Procedures Manual will apply and counsel will be

    required to register with the Clerk’s Office and provide an email address. The

    Manual can be found on the court’s website at www.ctd.uscourts.gov. All activity

    in the case (e.g., pleadings, orders, notices and calendars) will be filed/sent

    electronically from this date forward.  

           Counsel must comply with all applicable Federal Rules of Criminal Procedure,

    the District's Local Rules, the requirements set forth in the District's CM/ECF Policies

    and Procedures Manual, and any other rules and administrative procedures which

    implement the District's CM/ECF system.

           If electronic filing would impose an undue burden on counsel or the parties, a

    motion may be made to vacate the Electronic Filing Order, for good cause shown.

 
 
 
 
           SO ORDERED.
 
 
                                                     /s/ Robert A. Richardson
                                                    United States Magistrate Judge
 
 
     Rev. 1/12/16
